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          EXHIBIT 18
          to the Declaration of Qifan Huang
        PUBLIC VERSION - REDACTED
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                      Autoplay DeepDive
                                             charleswu
                                              04/2021




                                                                                        PLAINTIFFS'
                                                                                          EXHIBIT
                                                                                          103
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     Core Metrics Share
     Ras ta

                                     VWT%            Views%              Enabled%

              All

              Android

              IOS

              Web

              TVHTML5




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     Caveats
      •    Client stops autoplay after LACT

             Web/Mobile        TVHTML5        MWeb

             XXm               Xh             XXm


      •    Logging
             o   WATCH NEXT AUTOPLAY
             o   Try go/rtseeker-user-guide

      •    Loop: ... A->B-> ... ->A
             o   Algorithm: Ep3->Ep1->Ep2->Ep3-> ...
             o   Watch History failure

      •    Most autoplay trails are short
             o   Could be as long as 90+ videos though




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     Main App Flow
      •    Nomination
             o   WatchNext nominators
             o   Music nomination when there's an "autoplay seed".
      •    Scoring
             o   WatchNext scoring
             o   Extra XLQ filtering
      •    Post-processing
             o   Policies and priorities
      •    Override
             o   TVHTML5: automix on music watch




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     Autoplay Training Data Reweighting
      •    (with SIR team) If user opted in autoplay, but watched a non-autoplay(lower-
           position) WN suggestion, then penalize the autoplay suggestion.
             o   Negative results




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                                       Thank You




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